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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 BRENT WEICKERT

        Plaintiff,

 v.                                                       Case No. 1:16-cv-00142-RJL

 NATURAL PRODUCTS ASSOCIATION, et al.

        Defendants.




                         MOTION TO APPEAR PRO HAC VICE

       Undersigned counsel, who is a member in good standing of the Bar of this Court, hereby

requests, pursuant to LCvR 83.2(d), that Kathleen M. Hartman be permitted to appear pro hac

vice as counsel for the Plaintiff. Undersigned counsel submits the attached “Declaration of

Kathleen M. Hartman” in support of this motion.


Date: March 25, 2016                       Respectfully submitted,

                                           /s/ Justin Zelikovitz, Esq.
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